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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

       DARLENE ANDREASIK,                            §
                                                     §
                         Plaintiff                   §       Case No. 1:15-cv-07159
                                                     §
              v.                                     §
                                                             Judge James B. Zagel
                                                     §
       RYAN, LLC and BRINT RYAN,                     §
       individually,                                 §
                                                     §
                         Defendants.

                    DEFENDANT RYAN, LLC’S MOTION TO EXAMINE PERSON

              COMES NOW, Defendant Ryan, LLC (“Defendant” or “Ryan” ), who submits its motion

       to examine Plaintiff, as authorized by Federal Rule of Civil Procedure 35 and would respectfully

       show the Court as follows:

              1.     Defendant moves for an order, upon good cause shown, allowing its expert

       witness to conduct an independent mental examination on Plaintiff.

              2.     Pursuant to Northern District of Illinois Local Rule 37.2, and as described more

       fully in Defendant’s Memorandum of Law, Defendant’s counsel Melissa Kingston has engaged

       in several conversations with Plaintiff’s counsel, both via telephone and email, regarding

       Defendant’s request for Plaintiff to have an independent medical examination performed by

       Defendant’s expert, Dr. Blotcky. The last telephone conversation between counsel occurred on

       the morning of September 27, 2016. After such consultations and good faith attempts to resolve

       their differences, the parties have been unable to reach an agreement regarding Defendant’s

       request for an independent medical examination to date.

              3.      Defendant proposes that Plaintiff’s mental examination would be two four-hour

       sessions (with reasonable breaks) on two days during which time Dr. Blotcky proposes to
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       conduct a mental exam regarding Plaintiff’s mental health conditions, treatment, diagnosis and

       history. The exams would take place at a “neutral location,” such as a conference room at a hotel

       in downtown Chicago, Illinois. Defendant had proposed dates and times in October 2016 for the

       examination, which were rejected by Plaintiff, but Defendant remains ready, willing, and able to

       provide additional dates that are mutually convenient. Other potential dates for the exam include

       November 3, 4, 5, 10, 11, and 12 and December 1, 2, and 3.

              4.     The motion to examine Plaintiff is based on the pleadings and papers on file in

       this case and the attached memorandum of points and authorities, Plaintiff’s First Amended

       Complaint, and the argument of counsel.

       Dated: October 10, 2016                     Respectfully submitted,


                                                   /s/___Melissa Kingston______________________
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                                                   /s/ Paulo McKeeby

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                                                  Attorneys for Defendant Ryan, LLC


                                  CERTIFICATE OF CONFERENCE

              I hereby certify that I have conferred with counsel for Plaintiff regarding the relief
       requested herein, and that she is opposed to same.


                                                         By: /s/ Melissa Kingston
                                                                 Melissa Kingston




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                                      CERTIFICATE OF SERVICE

              I hereby certify that a true and correct copy of the above and foregoing document has
       been served upon all counsel of record via the Court’s ECF Filing System on this 10th day of
       October, 2016.


                                                         By: /s/ Meredith E. Riccio
                                                                 Meredith E. Riccio




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